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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                            CASE NO: 9:19-cv-81160-RS

 APPLE INC.,

           Plaintiff,
 v.

 CORELLIUM, LLC,

           Defendant.

 __________________________________/

                DEFENDANT’S NOTICE FOR CONTINUANCE OF TRIAL PERIOD

           Defendant, CORELLIUM, LLC (“Corellium”), by and through its undersigned counsel,

 and pursuant to Southern District of Florida Local Rule 7.6 and this Court’s Order Setting Civil

 Trial Date, Pretrial Deadlines, and Referral to Magistrate Judge [D.E. 32] (the “Order”), hereby

 serves and files this Notice for Continuance of Trial Period, and in support thereof state:

           1.        On October 3, 2019, this Court issued it’s Order, setting “the Court’s two-week

 trial calendar beginning on October 13, 2020.”

           2.        Counsel for Defendant, Brett Govett, is also counsel of record in a matter

 currently pending in the Eastern District of Texas1 that is set for trial beginning October 19,

 2020. See, Affidavit of Brett Govett, attached hereto as Exhibit 1.

           3.        The two trial periods conflict.




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     GroupChatter, LLC v. AT&T Mobility, LLC and AT&T Services, Inc., Case No.: 18-CV-590 –JDK-KNM.

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        4.        Local Rule 7.6 states “upon written notice served and filed at the earliest practical

 date prior to the trial, pretrial conference, or other hearing, and supported by affidavit setting

 forth a full showing of good cause, a continuance may be granted by the Court.”

        5.        Mr. Govett and the undersigned counsel hereby provide this Notice and attached

 Affidavit of Mr. Govett’s conflict and request that this Court’s trial period be continued in

 accordance with the Court’s Order.

                                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 16th day of October, 2019, a true and correct copy of

 the foregoing has been furnished by electronic filing with the Clerk of the court via CM/ECF,

 which will send notice of electronic filing to all counsel of record.


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                                                                          and

                                                                  NORTON ROSE FULBRIGHT
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                                                                   2
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